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       EXPERIAN INFORMATION
   8   SOLUTIONS, INC.
   9                       UNITED STATES DISTRICT COURT
  10                     CENTRAL DISTRICT OF CALIFORNIA
  11

  12   BRYCE ABBINK,                          Case No. 8:19-cv-01257-JFW-PJWx
  13                  Plaintiffs,             Hon. John F. Walter
  14         v.                               DECLARATION OF JACK
                                              WILLIAMS IV IN SUPPORT OF
  15   EXPERIAN INFORMATION                   STIPULATION TO EXTEND TIME
       SOLUTIONS, INC., et al.,               TO RESPOND TO INITIAL
  16                                          COMPLAINT AND TO EXTEND
                      Defendants.             TIME TO FILE A MOTION FOR
  17                                          CLASS CERTIFICATION
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  19                                          Complaint filed: June 21, 2019
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                                                        WILLIAMS DECL. ISO STIP. RE TIME FOR
                                                        RESPONSE TO COMPLAINT/CLASS CERT.
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   1          I, Jack Williams IV, declare as follows:
   2          1.     I am an associate at Jones Day, counsel of record for Defendant
   3   Experian Information Solutions, Inc. in the above-titled action.           I make this
   4   declaration in support of the parties’ Stipulation to Extend Time to Respond to Initial
   5   Complaint and to Extend Time to File a Motion for Class Certification. I have
   6   personal knowledge of the matters set forth herein, and if called upon as a witness,
   7   could and would competently testify thereto.
   8         2.     On June 21, 2019, Plaintiff Bryce Abbink (“Plaintiff”) filed his
   9   complaint in this matter in the United States District Court, Central District of
  10   California (the “Complaint”).
  11         3.     On July 2, 2019, Plaintiff caused the Complaint to be served on Experian
  12   Information Solutions, Inc.’s (“Experian”) registered agent for service of process.
  13         4.     On or before July 23, 2019, Experian’s answer or other response to
  14   Plaintiff’s Complaint is due to be filed.
  15         5.     On or before September 30, 2019, Plaintiff’s motion for class
  16   certification is due to be filed pursuant to Civil L.R. 23-3 (the “Motion for Class
  17   Certification”).
  18         6.     On July 11, 2019, counsel for Experian and Plaintiff met and conferred
  19   regarding the pendency of these deadlines. Experian requested an additional thirty
  20   (30) days to evaluate Plaintiff’s Complaint and prepare a competent response in light
  21   of the complexity of the claims. Plaintiff in-turn requested an additional ninety (90)
  22   days to prepare his Motion for Class Certification in recognition of the delay created
  23   by extending Experian’s time to answer or otherwise respond to the Complaint.
  24   Experian and Plaintiff agreed to each other’s conditions.
  25          7.     Experian has received Plaintiff’s First Sets of Discovery Requests,
  26   including Requests for the Production of Documents and Interrogatories. Experian
  27   and Plaintiff agree that extending the Motion for Class Certification deadline will
  28                                                        WILLIAMS DECL. ISO STIP. RE TIME FOR
                                                            RESPONSE TO COMPLAINT/CLASS CERT.
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   1   allow both Parties sufficient time to conduct discovery directly relevant to their
   2   respective class certification positions.
   3         I declare under penalty of perjury under the laws of the United States of
   4   America that the foregoing is true and correct.
   5         Executed this the 16th day of July, 2019 at Irvine, California
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                                                         By:
   7                                                       Jack Williams IV
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  28                                                            WILLIAMS DECL. ISO STIP. RE TIME FOR
                                                                RESPONSE TO COMPLAINT/CLASS CERT.
                                                   -3-                 Case No. 8:19-cv-01257-JFW-PJWx
